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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                         §
                               §                          Case No. 25-30155
ALLIANCE FARM AND RANCH, LLC & §
ALLIANCE ENERGY PARTNERS, LLC §                           (Jointly Administrated)
          Debtors.             §

                       ORDER APPROVING EMERGENCY MOTION TO
                       CONVERT CHAPTER 11 CASES TO CHAPTER 7

           Came on for consideration the Emergency Motion to Convert Chapter 11 Cases to

Chapter 7, and the Court finds that the Motion should be granted. It is therefore,

           ORDERED that Alliance Farm and Ranch, LLC; Case No. 25-30155 is converted to a

case under Chapter 7 and shall no longer be jointly administered with case No. 25-31937. It is

further,

           ORDERED that Alliance Energy Partners, LLC; Case No. 25-31937 is converted to a

case under Chapter 7 and shall be no longer be jointly administered with Case No. 25-30155. It

is further,

           ORDERED that a Chapter 7 trustee be appointed for each case upon conversion. It is

further,

           ORDERED that this Court hereby retains jurisdiction with respect to all matters arising

from or related to the implementation or interpretation of this Order.

           Signed: ______________________, 2025


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                                               ALFREDO R. PEREZ
                                               UNITED STATES BANKRUPTCY JUDGE




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